Filed 8/26/24 P. v. Bell CA4/3




                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
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         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                               DIVISION THREE


 THE PEOPLE,

     Plaintiff and Respondent,                                        G062580

           v.                                                         (Super. Ct. No. 19NF2211)

 ANGELA THERESA BELL,                                                 OPINION

     Defendant and Appellant.


                   Appeal from a judgment of the Superior Court of Orange County,
Elizabeth G. Macias, Judge. Affirmed.
                   Belinda Escobosa, under appointment by the Court of Appeal, for
Defendant and Appellant.
                   Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant
Attorney General, Charles C. Ragland, Assistant Attorney General, Melissa
Mandel and Anne Spitzberg, Deputy Attorneys General, for Plaintiff and
Respondent.
            A jury convicted Angela Theresa Bell of grand theft by
embezzlement after she stole large sums of money from the Central Buena
Park National Little League (the league), where her children played baseball
and she served as treasurer. Bell moved the trial court to reduce her
conviction to a misdemeanor under Penal Code section 17, subdivision (b)
(section 17(b)).1 The court denied her motion, relying in part on the large
amount of loss she had caused the league (about $13,000) and its finding that
her offense involved planning. It sentenced her to two years of formal
probation, with various terms and conditions.
            Bell challenges the trial court’s denial of her section 17(b) motion,
contending the evidence did not support the court’s findings regarding the
amount of the league’s loss and her planning of the crime. She also challenges
probation conditions requiring her to submit to a chemical breath test on
demand and to participate in alcohol treatment if recommended by her
probation officer.2
            As discussed below, we conclude the record supported the trial
court’s findings for purposes of Bell’s section 17(b) motion. And we conclude

            1 As explained below, grand theft by embezzlement is a

“‘wobbler’”—a crime that ‘‘‘in the trial court’s discretion, may be sentenced as
either a felony or a misdemeanor.’” (People v. Selivanov (2016) 5 Cal.App.5th
726, 758.)

            2 Bell also challenges the imposition of a condition prohibiting her

from consuming alcohol or being present at an establishment that sells
primarily alcoholic beverages. Although the trial court’s minute order
includes this condition, the court did not impose it in its oral pronouncement
of judgment. “Where there is a discrepancy between the oral pronouncement
of judgment and the minute order . . . the oral pronouncement controls.”
(People v. Zackery (2007) 147 Cal.App.4th 380, 385.) We order the clerk of the
trial court to delete this condition from the minute order and do not address
it further.

                                       2
that Bell forfeited her challenges to the probation conditions. We therefore
affirm the judgment.
                                     FACTS
                                       I.
                              THE INFORMATION
            In January 2022, the prosecution charged Bell with grand theft
by embezzlement (Pen. Code, §§ 487, subd. (a), 508). She pleaded not guilty,
and the matter proceeded to trial.
                                       II.
                            THE EVIDENCE AT TRIAL
A. The Prosecution’s Case
            Bell was the mother of two boys who played baseball in the
league, one of eight leagues in California Little League Baseball, District 29.
The league was run by a small, all-volunteer board of directors. Bell joined
the board and, beginning in February 2017, served as the league’s treasurer.
            As treasurer, Bell was responsible for the league’s finances and
reported on them to the board at monthly meetings. She was responsible for
paying the league’s expenses and was in charge of the league’s bank account.
Her name was on the account and she had a debit card and a checkbook for
it. Bell was given all the money from registrations, snack bar sales, and other
sources of income for the league. She was not authorized to make personal
purchases using league funds or to withdraw cash from the league’s account.
            At some point during Bell’s tenure as treasurer, other board
members became suspicious of her. She would report that the league’s
account was “in the green” but would not provide bank statements, and the
board “just couldn’t get an answer” on the bank balance. After board



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members learned that Bell had not paid certain league obligations, they
spoke with Shirley Glenn, who was then the assistant district administrator
for District 29. Glenn advised them to go to the bank to “see what was going
on.” On September 1, 2018, board members went to the bank and discovered
that the bank had closed the league’s account three days before, after it
reached a negative balance of about $990.
            Board members confronted Bell at her home and retrieved $534
in cash, $655 in checks, the league’s checkbook and debit card, bank
statements and other records, and five receipt books. The receipt books
included copies of the league’s receipts—one book covered the period from
January to September 2017 and the other four included receipts from October
2017 or later. The receipts primarily reflected the league’s income but also
recorded some expenses. The bank statements showed that Bell had been
using the league’s debit card to withdraw cash and to make personal
purchases. They also showed that the league’s bank account had a negative
balance for three different months during Bell’s tenure, before August 2018,
when the bank closed the account. Bell also provided the board members with
receipts for purchases she had made.
            Board members asked the district to conduct an audit of the
league’s finances. Glenn, who had a background in loss prevention and
auditing, conducted the audit. She testified about the results of her
investigation at trial.
            Glenn reviewed the league’s financial records, including the
receipt books retrieved from Bell. Glenn testified at trial that there were four
receipt books. She concluded that Bell had caused the league a loss of about
$13,400 between October 1, 2017, and August 29, 2018. She reached this



                                       4
number by first comparing the receipt books to deposits reflected in the bank
statements. She determined based on the receipt books that during the
relevant period, the league had about $38,000 in income. And she calculated
based on the bank statements that the league had only about $27,000 in
deposits during that period, leaving about $11,000 unaccounted for.
            Glenn reduced that amount by accounting for cash the league
had on hand (about $140), money that board members had retrieved from
Bell ($1,105.86), amounts given out as raffle prizes ($1,000), and receipts
reflecting Bell’s cash purchases for league purposes (about $540).3 Glenn then
added about $1,000 to the amount of missing funds for personal purchases
Bell had made using league money, based on bank statements and cash
receipts. She testified about several unauthorized debit card purchases: gas
purchases and purchases at Walmart, Vans, and 7-Eleven, amounting to
about $300. Glenn added about $2,700 to the missing funds for Bell’s
unauthorized cash withdrawals. Finally, Glenn added about $1,500 in bank
fees she attributed to Bell’s conduct, resulting in the total loss of about
$13,400. A table containing a summary of Glenn’s accounting was admitted
into evidence, along with the bank statements and the receipt books.
            On cross-examination, Glenn acknowledged that for most
months, the receipt books’ stated amounts for snack bar ATM card sales did
not exactly match the amounts automatically deposited in the league’s bank
account. She explained that “the box checked for . . . ATM versus . . . cash
could be switched.”



            3 Glenn noted there were two check deposits for which there was

no receipt and said she had adjusted the missing amount to account for them.
A summary of her calculation did not reflect any adjustment for these items.

                                        5
B. The Defense’s Case
            Bell testified in her own defense and denied embezzling money
from the league. We do not recount her testimony in detail. In essence, Bell
testified that she had been unqualified for the role of treasurer and did not
know what she was doing. Various aspects of her testimony suggested that
other board members might have stolen the money from the league.
C. The Verdict and Sentencing
            The jury found Bell guilty as charged. Bell filed a sentencing brief
in which she asked the trial court to reduce her conviction to a misdemeanor
under section 17(b). At the sentencing hearing, the court denied Bell’s
motion. In doing so, the court considered the sentencing factors listed in
California Rules of Court, rules 4.414 (criteria affecting probation), 4.421
(circumstances in aggravation), and 4.423 (circumstances in mitigation).4
Among other things, the court determined: the league was a vulnerable
victim (rules 4.414(a)(3), 4.421(a)(3)), Bell had taken advantage of a position
of trust (rules 4.414(a)(9), 4.421(a)(11)), and the circumstances of the crime
involved planning (rules 4.414(a)(8), 4.421(a)(8)).5
            The trial court also considered the amount of the league’s loss,
under both rule 4.414(a)(5) and rule 4.421(a)(9). In discussing rule
4.414(a)(5)—the degree of monetary loss to the victim—the court noted there



            4 All further references to rules are to the California Rules of

Court.

            5 Rule 4.414(a)(8) addresses “criminal sophistication or

professionalism,” and rule 4.421(a)(8) addresses “planning, sophistication, or
professionalism.” The trial court found planning relevant to both, and Bell
does not contend this was error. The court concluded the circumstances of the
offense did not indicate sophistication.

                                        6
was a dispute regarding the amount but said, “[T]he evidence before the
[c]ourt is that the [$]13,000-plus is the accurate amount.” As for rule
4.421(a)(9)—whether the crime involved a taking or damage of great
monetary value—the court stated: “I note that [Bell’s counsel] indicates that
the amount is less. The [c]ourt notes that in order for an offense to amount to
a felony, the loss should be $950 or more. In this case we are well above that
amount. The [c]ourt does believe that this factor applies.”
            The trial court sentenced Bell to two years of formal probation
and imposed numerous conditions, including a requirement that Bell submit
to a chemical breath test on demand and participate in alcohol treatment if
recommended by the probation officer. Bell timely appealed.
                                 DISCUSSION
            Bell claims the trial court abused its discretion by (1) denying her
motion under section 17(b) to reduce her conviction to a misdemeanor and
(2) imposing certain probation conditions pertaining to alcohol. We find no
abuse of discretion in the court’s denial of Bell’s motion, and we conclude Bell
forfeited her challenges to the probation conditions.
                                       I.
                        MOTION UNDER SECTION 17(b)
            Bell challenges the trial court’s denial of her motion under
section 17(b). She claims the court’s ruling relied in part on two
determinations not supported by the record: (1) that the total loss to the
league was around $13,000; and (2) that her crime involved planning.6 As
explained below, we conclude the evidence supported the court’s findings.

            6 Bell erroneously claims the trial court also found that her crime

involved sophistication. As noted, the court found that the circumstances did
not indicate sophistication.

                                       7
A. Governing Law
             Grand theft by embezzlement of more than $950 is a wobbler—a
crime that in the trial court’s discretion, may be sentenced as either a felony
or a misdemeanor. (People v. Selivanov, supra, 5 Cal.App.5th at p. 758.) “The
trial court has the sole discretion, under section 17(b), to treat a wobbler as a
felony or a misdemeanor for sentencing purposes. [Citation.] ‘By its terms,
[section 17(b)] sets a broad generic standard.’ [Citation.] ‘[S]ince all
discretionary authority is contextual, those factors that direct similar
sentencing decisions are relevant, including ‘the nature and circumstances of
the offense, the defendant’s appreciation of and attitude toward the offense,
or his traits of character as evidenced by his behavior and demeanor at the
trial.’ [Citations.]” (People v. Lee (2017) 16 Cal.App.5th 861, 866.) “As a
general matter, the court’s exercise of discretion under section 17(b)
contemplates the imposition of misdemeanor punishment for a wobbler ‘in
those cases in which the rehabilitation of the convicted defendant either does
not require, or would be adversely affected by, [felony punishment].’
[Citation.]” (People v. Park (2013) 56 Cal.4th 782, 790.)
             A reduction under section 17(b) is an act of leniency, not
entitlement. (People v. Tran (2015) 242 Cal.App.4th 877, 892.) “We review the
trial court’s ruling on a motion to reduce a felony to a misdemeanor pursuant
to . . . section 17[(b)] for an abuse of discretion and give deference to the trial
court’s weighing of the relevant factors.” (People v. Mullins (2018) 19
Cal.App.5th 594, 611.) We review the court’s underlying factual




                                         8
determinations for substantial evidence.7 (People v. Buford (2016)
4 Cal.App.5th 886, 901.)
B. Analysis
              The record supports the trial court’s determination that Bell had
caused the league a loss of about $13,000 and that her crime involved
planning.8 Beginning with the amount of the loss, Glenn testified extensively
about her audit of the league’s finances and explained how she arrived at the
relevant amount. And the league’s receipt books and bank statements, on
which she relied, were admitted into evidence.
              Bell takes issue with several aspects of Glenn’s calculations,
contending her calculations are suspect. First, Bell contends Glenn’s
calculation of the league’s income was flawed because the total amount in the
league’s receipt books was about $47,000, contrary to Glenn’s calculation of
about $38,000. This contention is unhelpful to Bell, as it suggests Glenn
understated the league’s income, meaning that the sum Bell had embezzled




              7 Bell does not contend the trial court was limited to facts found

by the jury in exercising its discretion, and we do not consider the issue.

              8 The Attorney General claims that in declining to reduce Bell’s

conviction to a misdemeanor, the trial court did not rely on an amount of
about $13,000, but instead was satisfied that the amount was large and
substantially above $950. But as noted, in considering the amount of loss by
the league for purposes of rule 4.414(a)(5), the court commented that the
amount was disputed but said the evidence showed that the accurate amount
was about $13,000.


                                         9
was even greater.9 Bell states it is “unclear” if Glenn recognized that some of
the league’s receipts documented expenses, rather than income. But there is
nothing to suggest Glenn failed to appreciate this fact, especially given that
her calculation of the league’s income was lower than the number Bell
provides on appeal.
            Second, Bell contends the accounting on some of the league’s
receipts was inaccurate, noting that the receipt books’ stated amounts for
snack bar ATM card sales often did not exactly match the amount
automatically deposited in the league’s bank account. She points to two
examples—one in which card purchases were understated by $65 and
another in which they were overstated by about $58. Glenn testified these
discrepancies could have resulted from erroneously checking the box
indicating a card purchase on some receipts. But in any case, Bell does not
show that these minor inconsistencies, which went in both directions,
meaningfully affected the calculation of the league’s income.
            Third, Bell asserts that Glenn’s calculation of the league’s bank
deposits (about $27,000) is “curious” because the bank statements show that
deposits from June 2017 to the closing of the account in August 2018 totaled
about $38,000. Relatedly, Bell notes that while she returned five receipt
books, Glenn said there were only four. These contentions are meritless.
Glenn calculated the league’s missing funds for the period beginning October
1, 2017. She did not consider the league’s income before that time, reflected


            9 Based on our own calculation, the receipt books for October

2017 forward reflect an income of about $40,000. Given Glenn’s familiarity
with general little league operations, her calculation may well have been
more accurate, as she may have excluded various items that, based on her
knowledge, do not represent income to the league.

                                       10
in one of the receipt books, which explains why she reported reviewing four
books. And thus, she properly excluded the league’s deposits before that time
as well.
            Fourth, Bell complains that Glenn failed to adjust her calculation
of missing funds based on (1) two deposited checks for which there were no
receipts and (2) funds Bell returned after her embezzlement was revealed.
These contentions, too, are meritless. Glenn’s failure to adjust for the
deposited checks meant that they increased the amount deposited without
also increasing the league’s income under her calculation. As with Bell’s
contentions regarding Glenn’s calculation of the league’s income, any faulty
calculation here served only to reduce the estimated amount Bell had stolen.
As for the funds Bell returned, Glenn accounted for them in her calculation,
reducing the missing amount by $1,105.86. Bell claims she returned $1,189,
but we need not decide the issue because even if true, the difference between
this amount and the amount Glenn credited her with is insubstantial and
could not have affected the trial court’s ruling. (People v. Hendrix (2022) 13
Cal.5th 933, 941 [no reversal without showing of reasonable probability that
outcome would have been different absent error].)
            Fifth, Bell states it is unclear how Glenn calculated the amount
she had stolen through unauthorized ATM cash withdrawals because,
although Glenn found about $2,700 in unauthorized withdrawals, “bank
statements show a total of $3,590.50 . . . in ATM withdrawals.” Once again,
this contention is unhelpful to Bell because it suggests that Glenn
understated the amount Bell had stolen.
            Sixth, Bell claims the record did not support Glenn’s
determination that her unauthorized purchases using the league’s debit card



                                       11
amounted to about $1,000. She notes that the unauthorized debit card
purchases Glenn discussed in her testimony—gas purchases and purchases
at Walmart, Vans, and 7-Eleven—amounted to only about $300. But Glenn’s
testimony did not provide an exhaustive itemization of all unauthorized
purchases—it merely illustrated the kinds of unauthorized purchases Bell
had made. Indeed, Glenn accounted for unauthorized cash purchases, in
addition to those Bell had made using the league’s debit card.
            Moreover, even assuming the trial court could not have relied on
the higher amount Glenn testified to, Bell cannot show that the difference—
about $700, or about 6 percent of the loss Glenn attributed to Bell’s conduct—
prejudiced her. We see no reasonable probability that the court would have
rendered a more favorable ruling to Bell if it had determined that the amount
of the loss was several hundreds of dollars less than the roughly $13,400
Glenn had testified to.10 The court’s reference to the loss of “[$]13,000-plus”
suggests it was not relying on the precise amount in reaching its decision.
            Finally, Bell claims the trial court should not have considered the
$1,500 in bank fees resulting from Bell’s criminal conduct as part of the
amount she had embezzled. But that is not what the court did. The
sentencing factors the court considered focused on “[t]he degree of monetary
loss to the victim” (rule 4.414(a)(5)), and on whether the crime involved “an
attempted or actual taking or damage of great monetary value” (rule
4.421(a)(9), italics added). The court properly considered the banks fees as
part of the league’s loss.



            10 This is true even considering the roughly $84 difference

between the amount Bell claims to have returned and the amount Glenn
credited her.

                                       12
            Turning to the question of planning, substantial evidence
supported the trial court’s determination that Bell had engaged in planning
in committing the offense. Bell stole large amounts of money from the league
during a period of almost a year, through different methods, while taking
measures to avoid detection. During monthly board meetings, she refrained
from providing bank account statements and avoided giving clear answers
regarding the league’s bank account balance. She told board members that
the league’s bank account was “in the green,” even though the account
sometimes had a negative balance because of her actions. These efforts
supported a finding that Bell’s crime involved planning. (People v. Gomez
(2018) 30 Cal.App.5th 493, 500 [defendant’s actions to avoid detection
indicated planning].) Accordingly, we find no error in the court’s denial of
Bell’s section 17(b) motion.
                                        II.
                               PROBATION CONDITIONS
            Bell challenges the trial court’s imposition of probation conditions
that subjected her to breath testing on demand and required participation in
treatment programs if recommended by the probation officer. We conclude
Bell forfeited her challenges to these conditions by withdrawing her
objections below.
A. Background
            Following Bell’s conviction, the probation office recommended
that the trial court sentence her to probation, with numerous terms and
conditions. The recommended conditions included: “[s]ubmit to a chemical
test of blood, breath, or urine on the demand of any peace or probation
officer” (condition 9); and “[c]ooperate with the probation officer in any plan



                                        13
for psychiatric, psychological, alcohol and/or drug treatment, or
counseling . . . .” (condition 10).
             In her sentencing brief, Bell objected to condition 9, arguing it
would be improper because her offense did not involve alcohol or drugs. At
the sentencing hearing, Bell’s counsel repeated Bell’s objection to this
condition. The trial court suggested this condition was similar to permissible
search and seizure conditions and would allow officers to require testing
should Bell be suspected of driving under the influence. Counsel reiterated
that the condition was unrelated to the offense and added that it was more
intrusive than a normal search and seizure condition, which would not
authorize police to draw blood. During additional colloquy with counsel, the
court agreed that as recommended, condition 9 was intrusive because it
compelled blood or urine tests. It stated: “I think that I’m going to modify the
term so that it only reads ‘breath.’” Bell’s counsel replied: “Okay. That’s fine.
Thank you, Your Honor.”
             Bell’s counsel then objected to a requirement of drug and alcohol
treatment under condition 10, again arguing the offense was unrelated to
drugs or alcohol. The trial court acknowledged that Bell had no current
substance dependency issue but stated: “I will say . . . that if, during the
course of [the probation period,] Bell were to develop such an issue, [failure to
include condition 10] may foreclose probation from assisting her in receiving
the treatment that she may need.” The court added that should the probation
officer order unnecessary treatment, Bell could ask the court to remove the
condition. Bell’s counsel responded, “I’ll submit to the [c]ourt’s discretion,
Your Honor.” The court proceeded to impose various conditions, including
condition 9 (as modified to require a breath test only) and condition 10.



                                        14
B. Analysis
              We conclude Bell forfeited her challenges to conditions 9 and 10.
Although she initially objected to these conditions, she withdrew her
objections following discussions with the trial court. In response to argument
by Bell’s counsel about condition 9 (chemical testing), the court indicated it
was inclined to narrow it to breath tests, to which counsel replied: “Okay.
That’s fine. Thank you, Your Honor.” As for condition 10 (substance-abuse
treatment), the court explained why the condition would be beneficial to Bell,
to which her counsel responded, “I’ll submit to the [c]ourt’s discretion.”
Counsel did not simply resign himself to the court’s rulings—his statements
came before any definitive ruling and in response to substantive discussions
with the court. At the time of the court’s rulings, there were no objections
pending as to the relevant conditions. Thus, Bell forfeited her challenges to
them. (People v. Welch (1993) 5 Cal.4th 228, 235 [failure to object to probation
conditions constitutes forfeiture].)
              People v. Appleton (2016) 245 Cal.App.4th 717, cited by Bell, is
inapposite. There, the defendant objected to certain probation conditions and
reiterated his objections even after the trial court imposed them and the
defendant accepted probation. (Id. at p. 721.) When the defendant challenged
the relevant conditions on appeal, the Attorney General argued he had
forfeited his claims by accepting the grant of probation. (Id. at p. 723.) The
Court of Appeal rejected this contention and stated: “[H]aving made his
objections known, defendant was not required to reject probation to preserve
his claims for appeal.” (Ibid.) Unlike the defendant there, Bell affirmatively
withdrew her objections and did not merely accept the grant of probation.
Accordingly, she forfeited her claims.



                                         15
                               DISPOSITION
            The judgment is affirmed. The clerk of the trial court is ordered
to prepare amended minutes of the April 21, 2023, sentencing hearing to
delete the order that appellant may not consume alcoholic beverages and may
not be present in any establishment where the primary items for sale are
alcoholic beverages.



                                           O’LEARY, P. J.

WE CONCUR:



MOORE, J.



GOODING, J.




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